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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 In re Application Pursuant to
 28 U.S.C. § 1782 of

 The Republic of the Gambia,

        Petitioner,
                v.                                     Civil Action No. 20-mc-36-JEB-ZMF
 Facebook, Inc.,

        Respondent.




                                            ORDER

       I come to praise Facebook, not to bury it. By Facebook’s own admission it was “too slow

to respond to the concerns raised” about its role in the genocide of the Rohingya, an ethnic and

religious minority in Myanmar. Steve Stecklow, Why Facebook is losing the war on hate speech

in   Myanmar,      Reuters   (Aug.   15,   2018),   https://www.reuters.com/investigates/special-

report/myanmar-facebook-hate/. In 2018, roughly six years into the genocide, Facebook began

deleting accounts and other content from its platform used by Myanmar government agents that

sparked the genocide. See Removing Myanmar Military Officials From Facebook, Facebook

(Aug. 28, 2018), https://about.fb.com/news/2018/08/removing-myanmar-officials/ (last updated

Dec. 18, 2018) (“De-platforming Post”).

       Pursuant to 28 U.S.C. § 1782, The Republic of The Gambia (“The Gambia”) seeks the

content Facebook deleted for use in The Gambia’s litigation against the Republic of the Union of

Myanmar (“Myanmar”) at the International Court of Justice (“ICJ”). The Gambia seeks these

records for “evidence of genocidal intent necessary to support a finding of responsibility for


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genocide” of the Rohingya. See ECF No. 1, Ex. 1 (Pet’r’s Mot.) at 8. Facebook argues that The

Gambia’s request: (1) violates the Stored Communications Act (“SCA”), and (2) is unduly

burdensome. See ECF No. 8 (Resp’t’s Opp’n). After several rounds of briefing, The Gambia’s

motion is now ripe for resolution. 1 The Court GRANTS The Gambia’s application in part and

DENIES it in part.

I.     BACKGROUND

       A.      Rohingya Genocide

       In November 2019, The Gambia instituted proceedings against Myanmar at the ICJ. See

Pet’r’s Mot. at 1. The Gambia seeks to hold Myanmar accountable for the crime of genocide

against the Rohingya. 2    See id.   The ICJ has jurisdiction to adjudicate disputes over the

responsibility of a State for genocide under the 1948 Convention on the Prevention and

Punishment of the Crime of Genocide. See id. at 6.

       According to the Independent International Fact-Finding Mission on Myanmar of the

United Nations Human Rights Council (“U.N. Mission”), the Rohingya were “in a situation of

severe, systemic and institutionalised oppression from birth to death” due to “State policies and




1
 On June 8, 2020, The Gambia filed its discovery request. See ECF. No. 1 (Order). On June 9,
2020, Judge James E. Boasberg referred this case to a magistrate judge for full case management.
See Minute Order (June 9, 2020). “Since the Court’s decision on a Section 1782 application is
non-dispositive, it may be decided by a magistrate judge by opinion and order, rather than a report
and recommendation to the district court.” Food Delivery Holding 12 S.a.r.l. v. DeWitty & Assocs.
CHTD, No. 21-mc-5, 2021 WL 1854343, at *1 n.2 (D.D.C. May 10, 2021) (quoting In re
Application of Shervin Pishevar Pursuant to 28 U.S.C. § 1782, 439 F. Supp. 3d 290, 301 (S.D.N.Y.
2020); see also see also In re Pons, ––– F. Supp. 3d ––––, 2020 WL 1860908, at *3 (S.D. Fla.
2020) (“The great majority of courts to address the issue” have determined that a magistrate judge
may dispose of “Section 1782 discovery motions” by order; collecting cases); In re Hulley Enters.
Ltd., 400 F. Supp. 3d 62, 71 (S.D.N.Y. 2019) (same).
2
 That proceeding is styled as The Gambia v. Myanmar (Application of the Convention on the
Prevention and Punishment of the Crime of Genocide).
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practices implemented over decades.” Report of the Detailed Findings of the Independent

International Fact-Finding Mission on Myanmar, A/HRC/39/CRP.2 at ¶ 458, United Nations

Human Rights Council (Sept. 17, 2018) (“U.N. Report”). “The Myanmar military and other

security forces committed human rights violations on a colossal scale, in violation of all basic

tenets of international law. The operations had a devastating impact on the Rohingya civilian

population, which was targeted, brutalised and terrorised.” Id. at ¶ 883. Indeed, the “level of

oppression faced by the Rohingya is hard to fathom.” Id. at ¶ 622. “[T]his oppressive climate,

and the fear and desperation resulting from it,” are the context for the “episodes of violence in

2012, 2016 and 2017.” Id. at ¶ 622.

         In 2012, violence erupted in the Rakhine State, where the Rohingya Muslims lived. Id. at

¶ 624. “The violence saw the burning and looting of houses, murders, summary executions and

large-scale displacement affecting both ethnic Rakhine and Muslims.” Id. at ¶ 643. The U.N.

Mission “conclude[d] that the 2012 and 2013 violence in Rakhine State was pre-planned and

instigated and that the Myanmar security forces were actively involved and complicit.” Id. at

¶ 747.

         Beginning in October 2016, the Myanmar military carried out so-called “clearance

operations” constituting systematic mass executions, disappearances, detention, and torture of

Rohingya civilians, and the destruction of homes, mosques, and Qurans. See id. at ¶¶ 1069–95.

“In addition to . . . mass targeted killings, members of the security forces shot individual persons,

including at point blank range, and executed people, including those injured, by slitting their

throats using long knives.” Id. at ¶ 893. “Infants and children were frequently killed by gunfire,

stabbed or burned to death.” Id. at ¶ 942. “Another feature of the ‘clearance operations’ was the

widespread destruction of Rohingya homes and villages, causing further death and injury through



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burning. . . . Death by burning in this manner disproportionately affected vulnerable persons less

able to run and escape from the ‘clearance operations,’ including the elderly, disabled, young

children and pregnant women.” Id. at ¶ 905. Myanmar military forces “perpetrated on a massive

scale” “[r]ape and other sexual and gender-based violence . . . includ[ing] mass gang rapes,

sexually humiliating acts, sexual slavery and sexual mutilations.” Id. at ¶ 920. “Many of the

women and girls had infants and children with them, who were killed or severely injured, while

their mothers were raped.” Id. at ¶ 924. “Many victims were killed after being raped. Most had

their throats slit, or were burned to death.” Id. at ¶ 927.

       The U.N. Mission concluded Myanmar intended to eradicate the Rohingya. Id. at ¶¶ 1439–

41. Multiple other international human rights organizations likewise concluded that Myanmar’s

actions constituted genocide. See Pet’r’s Mot. at 4–6.

       B.      Facebook’s Role In The Genocide

       The U.N. Mission found that Facebook has been “by far the most common social media

platform in use in Myanmar” since 2012. U.N. Report at ¶ 1344. “Facebook [was] the main, if

not only, platform for online news.” Id. at ¶ 1345. The Myanmar officials “rel[ied] on Facebook

to release news and information” and media outlets “use[d] Facebook as a main way of

disseminating articles.” Id.

       In October 2018, Facebook commissioned a human rights impact assessment (HRIA) 3 of

its presence in Myanmar. It too revealed that, in Myanmar, “Facebook is the internet.” HRIA at



3
  Facebook commissioned BSR to author the HRIA using a methodology based on recognized
international principles. The assessment identified actual and potential human rights impacts,
reached conclusions about those impacts, and made recommendations for mitigation and
management. Although Facebook funded the HRIA, BSR retained editorial control over its
contents. See BSR, Human Rights Impact Assessment: Facebook in Myanmar, 1 (2018),
https://about.fb.com/wp-content/uploads/2018/11/bsr-facebook-myanmar-hria_final.pdf
(“HRIA”).
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12. Undoubtedly Facebook had “a powerful democratizing effect in Myanmar by exposing

millions of people to concepts like democracy and human rights.” Id. However, “[d]igital literacy

[was] generally low across the country, and many people [found] it difficult to verify or

differentiate content (for example, real news from misinformation).” Id. Myanmar officials were

therefore able to credibly “spread rumors about people and events” via Facebook. Id. at 13.

       Facebook content “contributed to shaping public opinion on the Rohingya and Muslims

more generally,” U.N. Report at ¶ 696, and was used “to spread anti-Muslim, anti-Rohingya, and

anti-activist sentiment,” HRIA at 24. Specifically, “organized groups [made] use of multiple fake

accounts and news pages to spread hate speech, fake news, and misinformation for political gain.”

Id. at 13. The viral spread of disinformation on Facebook led to instances of “communal violence

and mob justice.” Id.

       The U.N. Mission concluded that Myanmar officials weaponized Facebook for “a carefully

crafted hate campaign [to] develop[] a negative perception of Muslims among the broad population

in Myanmar.” U.N. Report at ¶ 696. This hate campaign portrayed “the Rohingya and other

Muslims as an existential threat to Myanmar and to Buddhism. In the case of the Rohingya, it

[went] a step further. It [was] accompanied by dehumanising language and the branding of the

entire community as ‘illegal . . . immigrants.’” Id. For example, on June 1, 2012, Zaw Htay, the

spokesperson for the President of Myanmar, posted a statement advocating for the destruction of

the Rohingya to his personal Facebook account:

       Rohingya terrorists as members of the [Rohingya Solidarity Organization] are
       crossing the border into Myanmar with weapons. . . . Our troops have received the
       news in advance so they will completely destroy them [the Rohingya]. It can be
       assumed that the troops are already destroying them [the Rohingya]. We don’t want
       to hear any humanitarian or human rights excuses. We don’t want to hear your
       moral superiority, or so-called peace and loving kindness. (Go and look at
       Buthidaung, Maungdaw areas in Rakhine State. Our ethnic people are in constant
       fear in their own land. I feel very bitter about this. This is our country. This is our

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       land.) (I’m talking to you, national parties, MPs, civil societies, who are always
       opposing the President and the Government.)

Id. at ¶ 705. The U.N. Mission determined that “[a]lthough this post was later deleted, the impact

of a high[-ranking] official equating the Rohingya population with terrorism may have been

significant ahead of the 2012 violence, which erupted a week later.” Id. at ¶ 706. Ultimately,

“[t]his discourse created a conducive environment for the 2012 and 2013 anti-Muslim violence . . .

and subsequent waves of State-led violence in 2016 and 2017.” Id. at ¶ 696.

       In August 2018, Facebook acknowledged that the “ethnic violence in Myanmar [was]

horrific” and that Facebook was “too slow to prevent misinformation and hate.” Sara Su, Update

on Myanmar, Facebook (Aug. 15, 2018), https://about.fb.com/news/2018/08/update-on-

myanmar/. In August 2018, Facebook deleted and banned the accounts of key individuals and

organizations in Myanmar—including the commander-in-chief of Myanmar’s armed forces and

the military’s television network. See De-platforming Post. Facebook also deleted “seemingly

independent news and opinion Pages [that] covertly push[ed] the messages of the Myanmar

military.” Id. Facebook determined that Myanmar officials surreptitiously controlled these

facially unassociated accounts, which qualified as “coordinated inauthentic behavior” in violation

of Facebook’s terms of service. Id.

In October and December 2018, Facebook deleted an additional 438 pages, 17 groups, and 160

Facebook and Instagram accounts, see id., for engaging in “coordinated inauthentic behavior”

designed to perpetuate misinformation and hate speech targeting the Rohingya, see U.N. Report

¶ 1353. Facebook estimated that nearly 12 million people followed these accounts, groups, and

pages prior to deletion. See De-platforming Post. In taking these actions, Facebook sought to “act

against those [who] use[d] Facebook in ways that spread violence and enable[d] genocide.” HRIA

at 27. Facebook preserved the content it deleted. See id.

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       The Gambia makes three discovery requests: (1) public and private communications

associated with the deleted content; (2) documents associated with Facebook’s internal

investigation on how Facebook identified the content it deleted; and (3) a Rule 30(b)(6) deposition

regarding all of the above. See Pet’r’s Mot. at 14–17.

II.    LEGAL STANDARD

       A.      28 U.S.C. § 1782

       “The district court of the district in which a person resides or is found may order him to

give his testimony or statement or to produce a document or other thing for use in a proceeding in

a foreign or international tribunal.” 28 U.S.C. § 1782. Consideration of a § 1782 application

requires a two-step inquiry. “A court must first consider whether it has the authority to grant the

request and, second, whether it should exercise its discretion to do so.” In re Barnwell Enters. Ltd,

265 F. Supp. 3d 1, 8 (D.D.C. 2017) (cleaned up). The statutory elements are that (1) the person

resides or is found in the district, (2) the discovery requested will be used in a proceeding before a

foreign or international tribunal, and (3) the request is made by an interested person. See id. at 8–

9. “As long as these three mandatory factors are met, courts have broad discretion in deciding

whether to grant or deny these applications.” Attorney Gen. of British Virgin Islands v. Hyman,

No. 19-mc-164, 2020 WL 2615519, at *4 (D.D.C. May 23, 2020).

       A court must evaluate whether it should exercise its discretion according to four prudential

guidelines: (1) whether the respondent is a participant in the international proceedings, (2) whether

the tribunal is resistant to using this kind of discovery, (3) whether the application circumvents the

tribunal’s proof-gathering restrictions, and (4) whether the requested discovery is unduly intrusive

or burdensome. See Intel Corp. v. Adv. Micro Devices, Inc., 542 U.S. 241, 255 (2004). “The

discretionary guidelines in Intel do not command that each factor be weighed equally, nor do they



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dictate whether any particular factor should take precedent.” In Matter of Application of Leret, 51

F. Supp. 3d 66, 71 (D.D.C. 2014). They merely “suggest guides for the exercise of district-court

discretion.” Intel, 542 U.S. at 263 n.15. “A court’s discretion to grant or deny a § 1782 application

is ‘considerable,’ and may appropriately take into account the ‘specific facts of [the] application’

to determine which factor or factors ‘to weigh most heavily.’” In re Ord. of Hulley Enters.

Pursuant to 28 U.S.C. §1782, No. 17-mc-1466, 2017 WL 3708028, at *4 (D.D.C. Aug. 18, 2017)

(quoting Lazaridis, 473 F. App’x at 4). “‘[D]istrict courts must exercise their discretion under

§ 1782 in light of the twin aims of the statute,’ which have been described as ‘providing efficient

means of assistance to participants in international litigation in our federal courts and encouraging

foreign countries by example to provide similar means of assistance to our courts.’” Norex

Petroleum Ltd. v. Chubb Ins. Co. of Canada, 384 F. Supp. 2d 45, 49 (D.D.C. 2005) (quoting

Schmitz v. Bernstein Liebhard & Lifshitz, LLP, 376 F.3d 79, 84 (2d Cir. 2004)).

       B.      Stored Communications Act

       “[I]t is well-established that civil subpoenas, including those issued pursuant to 28 U.S.C.

§ 1782, are subject to the prohibitions of the [SCA].” Optiver Australia Pty. Ltd. & Anor. v. Tibra

Trading Pty. Ltd. & Ors., No. C12-80242, 2013 WL 256771, at *1 (N.D. Cal. Jan. 23, 2013). The

SCA mandates that “a person or entity providing an electronic communication service [(“ECS”)]

to the public shall not knowingly divulge to any person or entity the contents of a communication

while in electronic storage by that service.” 18 U.S.C. § 2702. Classification of an ECS is “context

sensitive: the key is the provider’s role with respect to a particular copy of a particular

communication, rather than the provider’s status in the abstract.” Orin S. Kerr, A User’s Guide to

the Stored Communications Act, and A Legislator’s Guide to Amending It, 72 Geo. Wash. L. Rev.

1208, 1215 (2004).



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III.    ANALYSIS

        A.     SCA Applicability

                       SCA Background

        Congress passed the SCA in 1986, prior to the existence of modern-day social media. See

William Jeremy Robison, Free at What Cost?: Cloud Computing Privacy Under the Stored

Communications Act, 98 Geo. L.J. 1195, 1204–05 (2010). “To apply the [SCA] to modern

computing, courts need to begin by” looking to the legislative history for the “problems that

prompted the need for the legislation.” Id. Congress was concerned that the absence of a clear

statutory framework regarding new communication technologies (1) “unnecessarily discouraged

potential customers from using innovative communications systems,” (2) “encouraged

unauthorized users to obtain access to communications to which they are not a party,” and (3)

“promote[d] the gradual erosion of the precious right to privacy.” S. Rep. No. 99-541, at 5 (1986);

see also Hately v. Watts, 917 F.3d 770, 783 (4th Cir. 2019) (detailing legislative history).

        Yet, “there are many problems of Internet privacy that the SCA [did] not address. The

SCA is not a catch-all statute designed to protect the privacy of stored Internet communications;

instead it is narrowly tailored to provide a set of Fourth Amendment-like protections for computer

networks.” Anzaldua v. Ne. Ambulance & Fire Prot. Dist., 793 F.3d 822, 839 (8th Cir. 2015)

(quoting Orin S. Kerr, A User’s Guide to the Stored Communications Act, and A Legislator’s

Guide to Amending It, 72 Geo. Wash. L. Rev. 1208, 1214 (2004)).




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                       Protected User

       The Gambia argues that Myanmar officials are not protected “users” 4 under the SCA. See

ECF No. 10 (Pet’r’s Reply) at 5–8. This is an issue of first impression that requires the Court to

unpack the stacking doll of definitions in the SCA. An ECS is “any service which provides to

users thereof the ability to send or receive wire or electronic communications.” 18 U.S.C.

§ 2510(15) (emphasis added). A “user” is “any person or entity who—(A) uses an [ECS]; and

(B) is duly authorized by the provider of such service to engage in such use.” Id. § 2510(13).

Person “means any employee, or agent of the United States or any State or political subdivision

thereof, and any individual, partnership, association, joint stock company, trust, or corporation.”

Id. § 2510(6). The SCA does not define “entity.”

       The SCA defines “user” with the broadest possible language: “any person.”                See

§ 2510(13). “Any person means any person, including foreign citizens.” Suzlon Energy Ltd. v.

Microsoft Corp., 671 F.3d 726, 729 (9th Cir. 2011). The foreign government officials implicated

here are undoubtedly “foreign citizens.” Moreover, the SCA’s definition of “person” is expansive:

U.S. government agents and individuals. See § 2510(6). According to The Gambia, that U.S.

government agents are listed separately from individuals means that agents are not considered

individuals. See Pet’r’s Reply at 6. The Gambia further hypothesizes Congress, by explicitly

listing U.S. government agents, intended to forego SCA protection for foreign government agents.

See id. The natural reading of the statute dictates otherwise. The definition of “person” merely



4
  The definition of “user” only operates to limit the designation of a provider as an ECS. According
to 18 U.S.C. § 2702(a)(1), an ECS “shall not knowingly divulge to any person or entity the contents
of a communication while in electronic storage by that service.” The definition of “user” does not
affect the disclosure prohibitions in § 2702, which are absolute. The Gambia tries to give the
definition of “user” much more power than it has. Congress could have limited the application of
the SCA to the communications of particular users, but it did not.

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highlights government agents’ inclusion in SCA protection, not their exclusion from the “any

individual” category. Moreover, The Gambia’s attempt to partition these categories does not

comport with the SCA’s legislative history. Congress was concerned with “civil litigants issuing

discovery requests” and thus sought to protect all individuals from unauthorized access. Suzlon,

671 F.3d at 730. Myanmar officials are individuals.

       The inclusion of “entity” in the definition of “user” provides an independent basis for SCA

coverage. The ordinary definition of “entity” includes “a governmental unit[] that has a legal

identity apart from its members or owners.” See Pet’r’s Reply at 6 (quoting Black’s Law

Dictionary (11th ed. 2019)). That definition covers the state-sanctioned, coordinated inauthentic

content at issue here. 5 See De-platforming Post.

       Therefore, Facebook is an ECS as to the content in question. 6



5
  The Gambia makes a novel argument that the Myanmar government agents were not “authorized”
users (and thus outside the scope of the SCA) because Facebook later banned them for terms of
service violations. See Pet’r’s Reply at 9–11. As explained below, application of the SCA is not
tied to terms of service violations. Thus, ruling on whether the users were duly “authorized” is
unnecessary; particularly given that analyzing such question would require facts not before this
court, such as when did each account violate the terms of service.
6
 The SCA also covers providers of remote computing services (“RCS”). See 18 U.S.C. § 2702(a).
An RCS is subject to the same prohibitions on content disclosure as an ECS. See id. RCS is
defined as “the provision to the public of computer storage or processing services by means of an
electronic communications system.” Id. (emphasis added).

Waiting until its surreply, Facebook asserted in a footnote that it is also an RCS and that it
“reserves” the right to argue this as a basis against disclosure. Resp’t’s Surreply at 2, n.1.
“[A]rguments raised in footnotes are not preserved.” SmithKline Beecham Corp. v. Apotex Corp.,
439 F.3d 1312, 1320 (Fed. Cir. 2006). Waiver is particularly appropriate where the parties
declined the opportunity for further briefing, cf. Sugar Cane Growers Co-op. of Fla. v. Veneman,
289 F.3d 89, 93 n.3 (D.C. Cir. 2002), which Facebook did here, see Conf. Tr. at 159. In any case,
the RCS argument is without merit.

“Whether an entity is acting as an RCS or an ECS (or neither) is context dependent, and depends,
in part, on the information disclosed.” Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1023 (N.D.


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                       Electronic Storage

       An ECS provider is prohibited from divulging communications “while in electronic storage

by that service.” 18 U.S.C. § 2702(a)(1). “[The ‘electronic storage’] requirement is commonly

misunderstood because the statutory definition of ‘electronic storage’ is much narrower than its

name suggests.” Anzaldua v. Ne. Ambulance & Fire Prot. Dist., 793 F.3d 822, 839 (8th Cir. 2015)

(quoting Robison, supra at 1206).

       The SCA defines two types of “electronic storage.” 18 U.S.C. § 2702(17). The first is

temporary storage, which includes “any temporary, intermediate storage of a wire or electronic

communication incidental to the electronic transmission thereof.”        Id. § 2510(17)(a).    It is

undisputed that the content in question was “delivered,” Hately, 917 F.3d at 785, or “post[ed],”

Crispin v. Christian Audigier, Inc., 717 F. Supp. 2d 965, 989 (C.D. Cal. 2010). Because the content

had reached its destination, it was not in temporary storage. See Hately, 917 F.3d at 784–85;

Crispin, 717 F. Supp. 2d at 989.

       The second is backup storage, which includes “any storage of such communication by an

electronic communication service for purposes of backup protection of such communication.” 18

U.S.C. § 2510(17)(b) (emphasis added). The parties agree that the question is whether the records

sought are backup storage. See Pet’r’s Reply at 12–13; ECF No. 15 (Resp’t’s Surreply) at 3–4.

                       a.     The Problem Of Content Moderation




Cal. 2012) (citing Kerr, 72 Geo. Wash. L. Rev. at 1215). Out of the gate, Facebook is incorrect to
assert that it is always an RCS. The question here is whether Facebook was acting as an RCS for
the deleted content it preserved. See id. at 1023. Indeed, “a storage service necessarily requires a
retrieval mechanism to be useful. To retrieve communications in storage, the RCS provider must
display those communications in some way.” Crispin, 717 F. Supp. 2d at 990. The “distinction
between public and nonpublic” availability is dispositive. Kerr, 72 Geo. Wash. L. Rev. at 1226.
As to the public, no such retrieval mechanism is available here for the deleted content, nor is it
publicly visible. Thus, Facebook is not an RCS here.
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       At the time of enactment, Congress viewed ECS and RCS providers as mail/package

delivery services. See Cong. Rsch. Serv., R46662, Social Media: Misinformation and Content

Moderation Issues for Congress (2021), https://crsreports.congress.gov/product/pdf/R/R46662.

This view failed to consider content moderation; mail/package delivery services have neither the

ability nor the responsibility to search the contents of every package. Yet after disinformation on

social media has fed a series of catastrophic harms, major providers have responded by taking on

the de facto responsibility of content moderation. See id. “The question of how social media

platforms can respect the freedom of expression rights of users while also protecting [users] from

harm is one of the most pressing challenges of our time.” HRIA at 3.

       This Court is the first to consider the question of what happens after a provider acts on its

content moderation responsibility. Is content deleted from the platform but retained by the

provider in “backup storage?” 7 It is not.

                       b.      Deleted Content




7
  “Deleted” means permanently unavailable to the user. The instant question concerns provider-
deleted content, not user-deleted content. When a user permanently deletes content, it is generally
no longer accessible or recoverable. See Can I see deleted messages in Messenger?, Facebook,
https://www.facebook.com/help/messenger-app/540897679352879/?helpref=search (“No, you
can’t see deleted messages or conversations. Deleting a message permanently removes it from
your Chat list.”) (last visited Sept. 14, 2021); Delete or recover deleted Gmail messages, Google,
https://support.google.com/mail/answer/7401 (“When you delete a message, it stays in your Trash
for 30 days. After that time, it will be permanently deleted from your account and can’t be
recovered.”) (last visited Sept. 14, 2021). Permanently deleted content is also unavailable to law
enforcement, unless they obtained a formal preservation order prior to deletion. See Information
for               Law                 Enforcement               Authorities,            Facebook,
https://www.facebook.com/safety/groups/law/guidelines/ (last visited Sept. 14, 2021). Given that
permanently deleted content by the user appears not to be retained by providers, the question of
whether user-deleted content is protected is likely a non-issue.


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       “The ordinary meaning of the word ‘backup’ is ‘one that serves as a substitute or support.’”

Jennings v. Jennings, 736 S.E.2d 242, 245 (S.C. 2012) (quoting Merriam-Webster Dictionary,

http://www.merriam-webster.com/dictionary/backup).         Congress’s conception of “‘backup’

necessarily presupposes the existence of another copy to which this [backup record] would serve

as a substitute or support.” Id. Without an original, there is nothing to back up. Indeed “the

lifespan of a backup is necessarily tied to that of the underlying message. Where the underlying

message has expired . . . , any copy is no longer performing any backup function. An [ECS] that

kept permanent copies of [deleted] messages could not fairly be described as ‘backing up’ those

messages.” Gonzales v. Uber Techs., Inc., No. 17-cv-02264, 2018 WL 4616266, at *4 (N.D. Cal.

Sept. 26, 2018) (quoting Theofel v. Farey-Jones 359 F.3d 1066, 1076 (9th Cir. 2004).

       Approximately three years ago, Facebook deleted the content in question as coordinated

inauthentic behavior.   See De-platforming Post; ECF No. 19 (Conf. Tr.) at 102–16.             And

coordinated inauthentic behavior violates Facebook’s terms of service.           See Coordinated

Inauthentic Behavior, Facebook (Dec. 6, 2018) https://about.fb.com/news/tag/coordinated-

inauthentic-behavior/. Facebook heavily publicized this action and its finality. See Conf. Tr. at

110; De-platforming Post. 8 Indeed, Facebook has kept the content offline since then and “nobody

[on Facebook] can view it.” Id. at 76. Because the original content is permanently off the platform,

no backup copy can exist of it. See Gonzales, 2018 WL 4616266, at *4.




8
  This decision touches a narrow category: content permanently deleted by the provider. See ante,
at n.7. Undoubtedly, the instant content falls into that category given the passage of time since
Facebook deleted the content, that it banned related users, and Facebook’s own words publicizing
this as a final decision. See De-platforming Post. Not before this Court is what happens when
content is in purgatory—i.e., de-platformed, but not yet subject to a decision about permanent
deletion. See Conf. Tr. at 151. Ultimately, courts have a fact-intensive task of determining
whether a provider has reached a final decision on de-platforming.
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         It is true that Facebook alone retains offline access to the deleted content. However, any

“archive of [deleted] messages that [Facebook] continues to maintain . . . constitutes the only

available record of these communications, and cannot possibly serve as a ‘backup’ copy of

communications stored elsewhere.” Flagg v. City of Detroit, 252 F.R.D. 346, 363 (E.D. Mich.

2008).

                       c.      Analogy To Undeleted Content

         Nearly all “backup storage” litigation relates to delivered, undeleted content. That case

law informs and supports the Court’s decision here. “Although there is no binding circuit

precedent, it appears that a clear majority of courts have held that emails opened by the intended

recipient (but kept on a web-based server like Gmail) do not meet the [backup protection]

definition of ‘electronic storage.’” Sartori v. Schrodt, 424 F. Supp. 3d 1121, 1132 (N.D. Fla. 2019)

(collecting cases). The Department of Justice adopted this view, finding that backup protection

“does not include post-transmission storage of communications.” U.S. Dep’t of Just., Searching

and Seizing Computers and Obtaining Electronic Evidence in Criminal Investigations, 123 (2009),

https://www.justice.gov/sites/default/files/criminal-ccips/legacy/2015/01/14/ssmanual2009.pdf.

The Gambia argues for following the majority view’s limited definition of backup storage. See

Sartori, 424 F. Supp. 3d at 1132; ECF No. 16 (Pet’r’s Resp. to Surreply) at 5–6. If undeleted

content retained by the user is not in backup storage, it would defy logic for deleted content to

which the user has no access to be in backup storage.

         Facebook argues for the opposite reading of backup storage, relying on a Ninth and Fourth

Circuit case that delivered, undeleted content is in backup storage. See Theofel, 359 F.3d at1070

(9th Cir. 2004); Hately, 917 F.3d at 785. However, as discussed below, the language of Theofel




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and Hately explicitly supports a finding that deleted content is not backup storage. Thus, the Court

need not determine the appropriate standard for delivered, undeleted messages.

       The emphasis in Theofel is on the purpose of the storage:

       [T]he mere fact that a copy could serve as a backup does not mean it is stored for
       that purpose. We see many instances where an [ECS] could hold messages not in
       electronic storage—for example, e-mail sent to or from the [provider]’s staff, or
       messages a user has flagged for deletion from the server. In both cases, the
       messages are not . . . kept for any backup purpose.”

Theofel, 359 F.3d at 1070. Even under Theofel, the purpose of backup storage must be to backup

the original. See Gonzales, 2018 WL 4616266, at *4 (applying Theofel, location data retained only

by provider but not by the user was not backup storage). The Crispin court applied Theofel’s

holding to a hypothetical context in which “Facebook . . . retain[ed] copies of webmail or private

messaging communications on [its] servers separate from the storage available to [a user].” See

Crispin, 717 F. Supp. 2d at 987 n.46. The court assumed that such off-platform data would be

protected as backup storage unless it fell into one of Theofel’s exceptions, including “messages a

user has flagged for deletion.” Id. (quoting Theofel, 359 F.3d at 1076). Even the broadest

interpretation of backup storage carved out content deleted from the platform. This is devastating

to Facebook’s argument.

       Facebook argues that because the provider-deleted content remains on Facebook servers in

proximity to where active content on the platform is stored, both sets of content should be protected

as backup storage. See Conf. Tr. at 76. However, the question is not where the records are stored

but why they are stored. See Theofel, 359 F.3d at 1070. Facebook claims it kept the instant records

as part of an autopsy of its role in the Rohingya genocide. See Conf. Tr. at 80–81. While

admirable, that is storage for self-reflection, not for backup. Moreover, Facebook’s interpretation

of backup—anything on its servers—reads the term out of the statute. Congress limited the SCA



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to protection of backup storage rather than all electronic storage. See 18 U.S.C. § 2510(17). This

Court “construe[s] [the SCA] so that effect is given to all its provisions.” Delaware Dep’t of Nat.

Res. & Env’t Control v. EPA, 895 F.3d 90, 99 (D.C. Cir. 2018) (internal quotation omitted).

       Facebook’s reliance on Hately is similarly misplaced. See Resp’t’s Surreply at 3–4. The

Hately court reasoned that “a wire or electronic communication is stored for ‘purposes of backup

protection’ if it is a ‘copy’ or ‘duplicate’ of the communication stored to prevent, among other

things, its ‘destruction.’” Hately, 917 F.3d at 791. Here, Facebook itself “destroyed” the content

in question by removing it from its platform and banning the associated accounts. While Facebook

retained offline access to the deleted content, that access was not was not meant to prevent its

destruction on the platform—indeed far from it, as Facebook deemed that content illicit and

unwelcome on its platform. 9 The SCA was created to allow platforms to flourish for users, not to

protect records for a provider. See e.g., Suzlon, 671 F.3d at 729–30.

       The Hately court’s reliance on the three legislative history prongs is inapposite here. 10

First, the risk of a chilling effect deterring potential users from “using innovative communications

systems,” S. Rep. No. 99-541, at 5 (1986), is nonexistent as Facebook usage is already ubiquitous,



9
  Backup protection need not be solely for the benefit of the user. See Hately, 917 F.3d at 795.
The provider may create backup copies for self-serving reasons, such as “decreasing email
downtime, protecting against loss of data in the event a particular server fails, and for their own
commercial purposes, such as to more effectively target advertisements.” Id. (citation omitted).
Facebook has not alleged that the instant offline retention served any such commercial purposes
recognized by courts. Moreover, the backup protection determination is not based on who, if
anyone, is benefitted, but rather if the purpose was for backup storage.
10
  The Hately court held that the messages a user “chooses not to delete . . . [we]re likely precisely
the types of messages Congress sought to protect.” Hately, 917 F.3d at 798 (emphasis added).
Nothing suggests that messages a provider chooses to delete for violating terms of service and
fanning the flames of genocide are the kind of messages Congress sought to protect. Moreover,
“the Supreme Court [has] reiterated . . . [this] resort to legislative history is not appropriate in
construing plain statutory language.” U.S. ex rel. Totten v. Bombardier Corp., 380 F.3d 488, 494
(D.C. Cir. 2004) (collecting cases).
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see HRIA 12–14. Moreover, by banning coordinated inauthentic behavior from Facebook nearly

three years ago, Facebook has already deterred users with such content from entering its platform.

See        Coordinated         Inauthentic          Behavior,     Facebook        (Dec.      6,      2018),

https://about.fb.com/news/tag/coordinated-inauthentic-behavior/.              Second,     the     harm   of

“unauthorized users [] obtain[ing] access to communications to which they are not a party,” S.

Rep. No. 99-541, at 5 (1986), is mitigated where the content is limited to unauthorized inauthentic

accounts, as opposed to genuine communications from real users. Additionally, the Court and

Facebook still serve as gatekeepers on releasing records to unauthorized users. Third, concerns

about disclosure damaging the right to privacy, see id., is a boogeyman that does not haunt here.

Coordinated inauthentic behavior—i.e., fake accounts that violated the terms of service—had no

privacy rights from Facebook. And the right to privacy in this case must be balanced against the

need to uncover the cause of the Rohingya genocide.

                          d.      Privacy Concerns

          Finally, Facebook advances a policy argument, opining that this Court’s holding will “have

sweeping privacy implications—every time a service provider deactivates a user’s account for any

reason, the contents of the user’s communications would become available for disclosure to

anyone, including the U.S. government.” 11 Resp’t’s Surreply at 7. Facebook taking up the mantle

of privacy rights is rich with irony. News sites have entire sections dedicated to Facebook’s sordid

history    of   privacy    scandals.         See,    e.g.,   Facebook   Privacy   Scandal,      AP   News,




11
   Facebook’s argument that this holding is a boon to law enforcement misses the mark. Law
enforcement already accesses content regularly via search warrants. The Fourth Amendment
requirement for a search warrant is untouched by this Court’s reading of the SCA. The Fourth
Amendment’s privacy protections stand apart from the SCA. See United States v. Warshak, 631
F.3d 266 (6th Cir. 2010). Indeed, the Fourth Amendment broadly protects digital media
irrespective of SCA coverage. See, e.g., Riley v. California, 573 U.S. 373 (2014).
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https://apnews.com/hub/facebook-privacy-scandal-. In 2019, Facebook was fined $5 billion by

the government after “deceiving users about their ability to control the privacy of their personal

information” in violation of a prior FTC order. Federal Trade Commission Press Release, FTC

Imposes $5 Billion Penalty and Sweeping New Privacy Restrictions on Facebook (July 24, 2019),

https://www.ftc.gov/news-events/press-releases/2019/07/ftc-imposes-5-billion-penalty-

sweeping-new-privacy-restrictions. These facts undercut the moral suasion of this argument.

       Regardless, this is the way Congress authored the SCA. When a user signs up for a

Facebook account, they agree to abide by Facebook’s terms of service. See Terms of Service,

Facebook, https://www.facebook.com/terms.       Failure to abide by these terms may result in

Facebook unilaterally deleting the account. See Why is my personal Facebook account disabled?,

Facebook, https://www.facebook.com/help/103873106370583/. And once content is deleted from

the platform, it is no longer protected by the SCA. See infra. Thus, Congress empowered ECSs

to denature parts of the SCA. But de-platformed content is just one of the many SCA exceptions.

Other provisions similarly permit providers to make unilateral determinations about “disclos[ing]

records, information, and contents of accounts.” United States v. Sykes, No. 3:18-cr-178, 2020

WL 8484917, at *9 (E.D. Tenn. Oct. 5, 2020). So, in a twist of irony, Facebook already held the

keys to many of the SCA’s privacy protections. 12




12
   Facebook is right that foreign governmental and foreign/domestic non-governmental entities
may more easily obtain de-platformed content (via a subpoena) than U.S. law enforcement (via a
search warrant). See Resp’t’s Opp’n at 12. This merely reflects that the Constitution places the
greatest burden on U.S. authorities when conducting searches. Civil litigants, domestic and
foreign, can frequently obtain records more easily than the U.S. government can. This is not a
reason to upend Congress’ explicitly laid out statutory scheme. Moreover, Congress’ primary
concern was limited to U.S. government action according to the statute’s text. See Suzlon, 671
F.3d at 730.
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       The privacy implications here are minimal given the narrow category of requested content.

Content urging the murder of the Rohingya still permeates social media. See Stecklow, supra

(documenting “more than 1,000 examples . . . of posts, comments, images and videos attacking

the Rohingya or other Myanmar Muslims that were on Facebook” even after Facebook apologized

for its services being “used to amplify hate or exacerbate harm against the Rohingya”). Such

content, however vile, is protected by the SCA while it remains on the platform. The parade of

horribles is limited to a single float: the loss of privacy protections for de-platformed content. And

even that could be mitigated by users joining sites that do not de-platform content.

       The deleted content at issue here does not fall within electronic storage protected by the

SCA.

                       Exceptions To SCA Protection

       Irrespective of the above analysis, the SCA includes enumerated exceptions permitting

disclosure of otherwise protected content. Most relevant here is the consent exception: “A provider

. . . may divulge the contents of a communication . . . with the lawful consent of the

originator . . . .” § 2702(b)(3). The Gambia also raises the provider protection exception: “A

provider . . . may divulge the contents of a communication . . . as may be necessarily incident to

the rendition of the service or to the protection of the rights or property of the provider of that

service.” Id. § 2702(b)(5). Several district courts have held that disclosure under any SCA

exception is purely voluntary on the part of the provider, relying on the term “may.” See, e.g.,

United States v. Wenk, 319 F. Supp. 3d 828, 829 (E.D. Va. 2017); PPG Indus., Inc. v. Jiangsu Tie

Mao Glass Co., 273 F. Supp. 3d 558, 561 (W.D. Pa. 2017); In re Facebook, Inc., 923 F. Supp. 2d

1204, 1206 (N.D. Cal. 2012). This Court is not convinced. The California Supreme Court engaged

in a more searching analysis:



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               Congress’s use of the word “may” to frame an exception to the Act’s general
               prohibition on disclosure is not such a “clear expression of . . . intent” as
               will justify a reading of the Act that categorically immunizes service
               providers against compulsory civil process where the disclosure sought is
               excepted on other grounds from the protections afforded by the Act
               . . . . Insofar as the Act permits a given disclosure, it permits a court to
               compel that disclosure . . . .

Facebook, Inc. v. Super. Ct., 417 P.3d 725, 751 (2018) (quoting Negro v. Superior Court, 179 Cal.

Rptr. 3d 215, 233–34. (2014)). Without clear statutory intent to show otherwise, this Court cannot

logically conclude that Congress gave Facebook greater power over discovery than the judiciary.

Thus, this Court concurs with the California Supreme Court that courts may compel production of

communications excepted from SCA protections. See id.

                      a.      Consent Exception

       The consent exception is largely applicable here because much of the content The Gambia

seeks was posted publicly before Facebook removed it. “[O]ne who posts a communication with

a reasonable basis for knowing that it will be available to the public should be considered to have

implicitly consented to such disclosure under section 2702(b)(3).” Id. at 742 (citing Viacom Int’l

Inc. v. YouTube Inc., 253 F.R.D. 256, 265 (S.D.N.Y. 2008)). This is because the SCA “was

intended to cover and protect only private and not public posts.” Id. at 739. Facebook agrees that

it has the discretion to disclose public content under the consent exception. See Conf. Tr. at 65–

66.

       Because social media is public by nature, “the critical inquiry is whether Facebook users

took steps to limit access to the information in their posts.” Facebook, 417 P.3d at 741 (quoting

Ehling v. Monmouth-Ocean Hosp. Serv. Corp., 961 F. Supp. 2d 659, 668 (D.N.J. 2013)). Not all

“public” Facebook posts are created equally—users set some to be public to anyone at any time,

while others are shared only to members of a group or followers of a page. See When I post



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something     on    Facebook,      how     do   I    choose     who      can    see   it?,   Facebook,

https://www.facebook.com/help/120939471321735/ (last visited Sept. 19, 2021).                Although

“private” groups and pages requires an administrator to grant access to the content, such forums

can still reach thousands to millions of followers. See, e.g., A group where we all pretend to be

ants in an ant colony, Facebook, https://www.facebook.com/groups/1416375691836223/ (1.8

million members as of Sept. 19, 2021). Administrators can automatically grant access to every

requestor, such that a private group effectively becomes public. See How do I automatically

approve        members        to         join       my        Facebook         group?,       Facebook,

https://www.facebook.com/help/540954519763978 (last visited Sept. 19, 2021).

       There is no magic number of accessible viewers for content to trigger the consent

exception. The consent analysis instead turns on the fact-intensive inquiry as to “whether the posts

had been configured by the user as being ‘sufficiently restricted that they are not readily available

to the general public.’” Facebook, 417 P.3d at 743 (quoting Crispin, 717 F. Supp. 2d at 991). At

bottom, the Court is looking to discern the user’s “intent” as to the public versus private nature of

the post. Id. at 747.

       The relevant facts are undisputed here. The parties agree that the content in question was

inauthentic accounts and pages Myanmar authorities created with the intent of “spread[ing] hate

speech, fake news, and misinformation for political gain.” HRIA at 13. Although some of the

pages were nominally private, the Myanmar officials intended their reach to be public, and in fact

they reached an audience of nearly 12 million followers. See De-platforming Post. Making their

accounts and pages private would have defeated their goal of inflaming hate in the widest possible

audience. See Facebook, 417 P.3d at 747. It is the rare case here that the authors nakedly displayed

their intent to reach the public and such intent was independently confirmed. See U.N. Report at



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¶¶ 1439–41. Thus, outside of private messages, 13 the content requested by The Gambia (as scoped

to only include hate-speech and violent content) falls within the consent exception. 14 Ordering

discovery is particularly appropriate here because much of the requested content would have been

publicly available to The Gambia had Facebook not deleted it. 15

                       b.      Provider Protection Exception

       The provider protection exception is inapplicable here. The purpose of this exception is to

protect the rights and property of the provider. See H.R. Rep. No. 99-647, at 67 (1986). This

exception is properly within the provider’s discretion, and no court has determined otherwise. The

Court does not purport to know better than Facebook what is to Facebook’s own benefit.

       B.      Burden And Scope Under Intel




13
  Private messages refer to “secret conversation[s] in [Facebook’s] Messenger [that are] end-to-
end encrypted and intended just for you and the person you’re talking to.” How do I start a secret
conversation     in      Messenger?,        Facebook,       www.facebook.com/help/messenger-
app/811527538946901/ (last visited Sept. 19, 2021).
14
  As with any discovery dispute, the Court is drawing general parameters here. The Gambia
agrees that the consent exception does not apply to private messages. See Conf. Tr. at 33, 37.
Facebook agrees that the consent exception covers some exclusively public content. See id. at 66–
67. Yet The Gambia has no visibility into the data itself. See id. at 34. The parties will have to
meet and confer to resolve any questions about content in between, with the backdrop of the
Court’s ruling that all pages and groups intended to be public should be disclosed. Future litigation
may revolve around specific inquiries at to the nature of such content.
15
   This Court does not wish to discourage the complicated work Facebook undertook to find and
delete the content in question. See HRIA 25–28. Facebook’s dual responsibilities of upholding
free speech and preventing misinformation from causing catastrophic real-world consequences is
arguably the issue of this generation. But Facebook’s self-regulation is not the only tool for
combating abuse. The Gambia is pursuing another recognized tool: international litigation before
an authorized tribunal. And Congress has empowered this Court to facilitate such litigation.

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       “Assuming a district court has the authority to grant a discovery request under § 1782, the

court then considers whether to exercise its discretion to do so.” Norex Petroleum, 384 F. Supp.

2d at 49. It is uncontested that the statutory factors of § 1782 are met here. 16

       “The fourth [Intel] factor is the salient one here.” Hulley Enters., 2017 WL 3708028, at

*4. It considers “the scope of the requested discovery, asking whether it is ‘unduly intrusive or

burdensome.’” In re DiGiulian, 314 F. Supp. 3d 1, 9 (D.D.C. 2018) (quoting Intel, 542 U.S. at

265). “[C]ourts have interpreted this inquiry to encompass ‘the relevance of the requested

discovery to the foreign proceeding.’” Id. (quoting Hulley Enters., 2017 WL 3708028, at *4).

This is the traditional proportionality analysis. See MetaLab Design Ltd. v. Zozi Int’l, Inc., 2018

WL 368766, at *4 (N.D. Cal. Jan. 11, 2018) (quoting Fed. R. Civ. P. 26(b)(1)).

                       Burden Of Production

       The Gambia seeks a discrete and known universe of records—the content that Facebook

previously found and deleted from its platform. Yet Facebook argues that the discovery requests

offer no meaningful metric for identifying accounts and are overbroad. See Resp’t’s Opp’n at 10–

13. Rather than requesting communications from “a litany of individuals or entities, none of whom

are specifically identified,” id. at 10, The Gambia specifically identified the communications of

seventeen individuals, four entities, and nine Facebook pages, see Pet’r’s Mot. at 14–17. Any

pages or accounts of which The Gambia does not know the specific identity, Facebook does. See

id. Indeed, The Gambia’s discovery requests are cribbed from Facebook’s press release on de-

platforming and are limited to the information Facebook de-platformed. See Conf. Tr. at 10, 139




16
   Facebook has offices in the District of Columbia. See Pet’r’s Mot. at 19. The pending ICJ case
constitutes a proceeding before an international tribunal and The Gambia is an interested party in
that proceeding as a litigant. See Intel, 542 U.S. at 256 (finding that a litigant before the foreign
tribunal is the quintessential interested person).
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(referencing Facebook’s de-platforming post). The Gambia is not asking, nor is the Court

ordering, Facebook to conduct further searches for coordinated inauthentic behavior related to the

Rohingya genocide. Thus, the traditional discovery burden of searching for content does not

manifest here. In fact, Facebook has already produced some records. See id. at 38–42.

       The Gambia scoped its request to only seek content “relevant to the ICJ case,” that is

documents related to “hate speech and [the] incitement to violence on Facebook.” Id. at 11, 46.

In so doing, The Gambia focused its request on only the most relevant documents. Facebook

argues that it is unduly burdensome to review its documents for a specific content. See id. at 101.

Facebook’s de-platforming process did not include a forensic review of all account and page data.

See id. at 106–07. And Facebook says it would be challenging to search for specific content now,

particularly due to translation issues. See id. at 103–04. However, such review should present

minimal difficulties as Facebook has publicly touted the strength of its Myanmar language team

and its content-review capabilities. See e.g., Rafael Frankel, An Update on the Situation in

Myanmar,         Facebook      (Feb.   11,    2021),     https://about.fb.com/news/2021/02/an-update-on-

myanmar/. Moreover, Facebook would seemingly know a thing-or-two about searching its data,

as   that   is     in   part    how    it    generates    revenue.     See   Data    Policy,   Facebook,

https://www.facebook.com/about/privacy.

       The Gambia limited its request to de-platformed content dating back to 2012. See Pet’r’s

Mot. at 14–17. Facebook challenges this as overly broad and counters with a 2016 date range,

Conf. Tr. 46–47; however, this fails for three reasons. First, the 2012 data is highly probative of

the instigation of the genocide.             The U.N. Mission found that Myanmar officials posted

disinformation on Facebook in 2012 that led to violence then and beyond. See U.N. Report at

¶ 696. And concluded that the extreme levels of violence perpetrated against the Rohingya in 2016



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and 2017 could only be understood by examining Myanmar officials’ activities dating back to

2012. See id. at ¶¶ 745–48. Second, Facebook has not demonstrated how the additional four years

of content unduly expands the document production. Facebook could have analyzed the metadata

of its records to substantiate its claim, but it did not. Third, there is nothing to suggest The

Gambia’s request for content dating back to 2012 was “made in bad faith, for the purpose of

harassment, or [was] part of a fishing expedition.” Intel, 542 U.S. at 265.

       Ultimately, this case raises at most the normal burdens of discovery—including for § 1782

requests. Facebook can mitigate the primary burden it identified by using “technology assisted

review [which] is cheaper, more efficient and superior to keyword searching.” In re Mercedes-

Benz Emissions Litig., No. 216-cv-881, 2020 WL 747195, at *6 (D.N.J. Feb. 14, 2020); see also

Conf. Tr. at 141–42. The parties are otherwise left to negotiate how to efficiently comply with

this Court’s order. For example, The Gambia has already offered to take the full de-platformed

data set, minus any content searches, to alleviate the burden on Facebook. See Conf. Tr. at 144–

45.

                      Relevance

       “[W]hether the [ICJ] will ultimately find [the requested discovery] ‘useful’ . . . comes into

play only in the context of the discretionary Intel factors.” In re Veiga, 746 F. Supp. 2d 8, 19

(D.D.C. 2010). The ICJ is considering whether Myanmar violated the Genocide Convention. The

Gambia seeks evidence to prove genocidal intent. As the U.N. Mission concluded:

       The role of social media [in Myanmar] is significant. Facebook has been a useful
       instrument for those seeking to spread hate, in a context where, for most users,
       Facebook is the Internet. Although improved in recent months, the response of
       Facebook has been slow and ineffective. The extent to which Facebook posts and
       messages have led to real-world discrimination and violence must be independently
       and thoroughly examined.”




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Report of the Independent International Fact-Finding Mission on Myanmar, A/HRC/39/64 at ¶ 74,

U.N. Human Rights Council (Sept. 12, 2018). Facebook has admitted that Myanmar authorities

used Facebook as part of a coordinated campaign of hate against the Rohingya. See De-

platforming Post. Yet the scope and underlying proof of this conclusion is unknown to The

Gambia. See Conf. Tr. at 51. The records sought by The Gambia answer these questions, which

are the gravamen of the ICJ inquiry. Moreover, the U.N. Mission’s report and Facebook’s HRIA

each independently corroborate the relevancy of the request. That the records are highly relevant

to the foreign proceeding balances out any incremental burden on Facebook.

                      Alternative Avenues Of Discovery

       Facebook opines that The Gambia should have made its request via a mutual legal

assistance treaty (MLAT), the CLOUD Act, or a different international body. This is a nonstarter.

The only issue is whether The Gambia has met the requirements of § 1782. A court need not

consider whether other paths exist to collecting records. Cf. HT S.R.L. v. Velasco, No. 15-mc-664,

2015 WL 13759884, at *3 (D.D.C. Nov. 13, 2015) (“nothing in the text of 28 U.S.C. § 1782 . . .

supports a quasi-exhaustion requirement” in part because doing so would impose an additional

burden on parties seeking assistance from federal courts for matters relating to international

litigation). And the alternatives Facebook suggests largely involve voluntary compliance, whereas

an order under § 1782 mandates compulsory production.

       Specifically, Facebook directs The Gambia to obtain discovery through the U.N.

Independent Investigative Mechanism for Myanmar (“IIMM”), which “Facebook is actively

working to support.” Resp’t’s Surreply at 1. However, Facebook’s “voluntar[y] produc[tion]” of

records to the IIMM only began in August 2020, id., and reportedly has been stilted, see Poppy

McPherson, U.N. investigator says Facebook has not shared ‘evidence’ of Myanmar crime,



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Reuters (Aug. 11, 2020), https://www.reuters.com/article/us-myanmar-facebook/u-n-investigator-

saysfacebook-has-not-shared-evidence-of-myanmar-crime-idUSKCN2570K9; Conf. Tr. at 38–

40. Relying on Facebook’s own interpretation of the consent exception, Facebook has provided

only limited public postings to the IIMM. See Conf. Tr. at 65–66.

       Facebook opines that, compared to the ICJ, the IIMM is a “uniquely positioned body . . .

tasked with collecting, preserving, and analyzing information for use in criminal proceedings

under international law and in other contexts on a case-by-case basis, and with expediting and

facilitating fair criminal proceedings.” Resp’t’s Surreply at 1. The ICJ is not the McDowell’s to

the IIMM’s McDonald’s.        See Panama Jackson, Coming to America Questions That Need

Answers: Was McDowell’s Better than McDonald’s? An Examination (Mar. 3, 2021),

https://www.theroot.com/coming-to-america-questions-that-need-answers-was-mcdo-

1846387969. The ICJ is “the central expositor of international law,” Doe v. Nestle, S.A., 748 F.

Supp. 2d 1057, 1083 (C.D. Cal. 2010), whose “judgments and opinions . . . are accorded great

weight,” Restatement (Third) of Foreign Relations, § 103 cmt. (b). In fact, the ICJ may be a

superior venue given that it regularly adjudicates Genocide Convention issues. See, e.g., Sarei v.

Rio Tinto, PLC, 671 F.3d 736, 759 (9th Cir. 2011) (overturned on other grounds). The Court

agrees that “the IIMM is not participating in the proceedings before the [ICJ]—and [The Gambia

has] no reason to believe that any materials that Facebook would provide to the IIMM would be

sufficient to satisfy its obligations under 28 U.S.C. § 1782.” Pet’r’s Resp. to Surreply at 1–2.

       C.      Facebook’s Internal Investigation

       The Gambia separately requests records related to Facebook’s internal investigation of its

role in the Rohingya genocide. See Resp’t’s Opp’n at 8. To the extent these records are protected




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by a legal privilege, the normal prohibitions on discovery apply. However, Facebook must

produce any non-privileged documentation that relates to the internal investigation.

       The Gambia reasonably expects Facebook’s internal investigation will reveal information

that goes beyond the content of the deleted posts. See Conf. Tr. at 52–53. The investigation

records will illuminate how Facebook connected the seemingly unrelated inauthentic accounts to

Myanmar government officials. See id. Specifically, these records may show which accounts or

pages were operated by the same officials or from the same government locations. 17 Therefore,

Facebook’s internal investigation data—to the extent it exists—may be even more significant to

The Gambia’s ability to prove genocidal intent. Given that Facebook has already conducted its

investigation, the additional burden of production is minimal. Moreover, the requested discovery

could not have greater import in the ICJ litigation.

       D.      Deposition

       While it may be helpful to The Gambia, a Rule 30(b)(6) deposition is too much to demand

of Facebook. The Gambia seeks this deposition to make sense of the documents it has asked

Facebook to produce—an analysis which The Gambia could conduct thorough its own

examination of the documents. This request is unduly burdensome and adds little in the way of

concrete evidence given the Court’s order for document production.




17
   Much of The Gambia’s request for internal investigation data involves Facebook’s analysis of
non-content metadata of the deleted content. See Conf. Tr. at 25, 42–43, 50. “[F]ederal courts
have held that service providers may divulge non-content information to non-governmental entities
in response to civil subpoenas,” because such data falls outside of the SCA. Williams v. AT&T
Corp., No. 15-3543, 2016 WL 915361, at *3 (E.D. La. Mar. 9, 2016) (collecting cases). Non-
content information includes the identifying information for the account holder and “the date, time,
originating and receiving telephone number, and duration for incoming and outgoing calls.” Doe
v. City of San Diego, No. 12-CV-0689-MMA DHB, 2013 WL 2338713, at *4 (S.D. Cal. May 28,
2013). Ultimately, the content/non-content distinction is unimportant here, given the Court’s
determination above that the SCA does not preclude disclosure.
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IV.    CONCLUSION

       After seventeen years of existence, Facebook has grown self-aware. It has realized that

“[t]he need for extensive content moderation is inherent in any platform that is built upon user-

generated content, and with over 2 billion users, this is a task of immense complexity and intensity

for Facebook.” HRIA at 25. Indeed, the internet is littered with ads by Facebook touting their

support for updated content moderation and internet regulations to handle “today’s toughest

challenges”:




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       Although an update to the SCA is sorely needed as it “was written prior to the advent of

the Internet and the World Wide Web,” Konop v. Hawaiian Airlines, Inc., 302 F.3d 868, 874 (9th

Cir. 2002), none is needed here. Facebook’s concern was that the SCA prevented the requested

disclosure. However, the SCA has a well-established path for disclosure of deleted content.

       Facebook can act now. It took the first step by deleting the content that fueled a genocide.

Yet it has stumbled at the next step, sharing that content. Failing to do so here would compound

the tragedy that has befallen the Rohingya. A surgeon that excises a tumor does not merely throw

it in the trash. She seeks a pathology report to identify the disease. Locking away the requested


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content would be throwing away the opportunity to understand how disinformation begat genocide

of the Rohingya and would foreclose a reckoning at the ICJ.

       Facebook describes its remediation efforts for its role in what happened in Myanmar as

“some of the most important work being done at Facebook. . . . The weight of this work, and its

impact on the people of Myanmar, is felt across the company.” Su, supra. The Court’s decision

compels Facebook to live up to its words.

       For the foregoing reasons, The Gambia’s request for de-platformed content and related

internal investigation documents is GRANTED and its request for a deposition with Facebook is

DENIED. 18



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                                             ___________________________________
                                             ZIA M. FARUQUI
                                             UNITED STATES MAGISTRATE JUDGE




18
  Pursuant to LCvR 72.2, any party may file written objections to this ruling under within 14 days
after being served. The objections shall specifically designate the order or part thereof to which
objection is made, and the basis for the objection. The filing of oppositions and replies shall be
governed by LCvR 7(b) and (d).
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